AO 257 (Rev. 6/78)          Case 3:22-mj-70424-MAG Document 1-1 Filed 03/30/22 Page 1 of 1

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION                INDICTMENT                          Name of District Court, and/or Judge/Magistrate Location
                                                             SUPERSEDING                           NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                             SAN FRANCISCO DIVISION
 18 U.S.C. § 2252(a)(2) – Receiving Child Pornography                  Petty

                                                                       Minor              DEFENDANT - U.S
                                                                       Misde-                                                                 FILED
                                                                       meanor
                                                                                         Charles Richard Barrett                               Mar 30 2022
                                                                       Felony
                                                                                             DISTRICT COURT NUMBER                             Mark B. Busby
PENALTY:      • Mandatory minimum of 5 years’ imprisonment                                                                               CLERK, U.S. DISTRICT COURT
                                                                                             3:22-mj-70424 MAG                        NORTHERN DISTRICT OF CALIFORNIA
              • Maximum of 20 years’ imprisonment
                                                                                                                                              SAN FRANCISCO
              • Maximum $250,000 fine
              • Between five years and lifetime supervised release
              • $5100 special assessment
                                                                                                                       DEFENDANT
                             PROCEEDING                                                        IS NOT IN CUSTODY
                                                                                                 Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                              1)       If not detained give date any prior
                     HSI Special Agent Christine Brital
                                                                                                 summons was served on above charges          
       person is awaiting trial in another Federal or State Court,                      2)       Is a Fugitive
       give name of court
                                                                                        3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                               IS IN CUSTODY
                                                                                        4)       On this charge
       this is a reprosecution of

                                                                                                                                  }
       charges previously dismissed                                                     5)       On another conviction
       which were dismissed on motion                           SHOW                                                                         Federal          State


                                                        }
       of:                                                    DOCKET NO.
                                                                                        6)       Awaiting trial on other charges
            U.S. ATTORNEY              DEFENSE
                                                                                                  If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                           }
                                                                                                                 Yes            If "Yes"
       pending case involving this same                                                      Has detainer
                                                                                                                                give date
       defendant                                              MAGISTRATE                     been filed?         No             filed


                                                        }
                                                               CASE NO.
                                                                                                                        Month/Day/Year
       prior proceedings or appearance(s)                                                    DATE OF
                                                                                             ARREST
                                                                                                            
       before U.S. Magistrate regarding this
       defendant were recorded under                                                         Or... if Arresting Agency & Warrant were not

                                                                                             DATE TRANSFERRED                         Month/Day/Year
Name and Office of Person
Furnishing Information on this form                  Stephanie Hinds                         TO U.S. CUSTODY
                                                                                                                           
                                U.S. Attorney           Other U.S. Agency

Name of Assistant U.S.                                                                            This report amends AO 257 previously submitted
Attorney (if assigned)                     Kevin Yeh
                                                        ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS               NO PROCESS*                WARRANT            Bail Amount: No bail
        If Summons, complete following:
             Arraignment    Initial Appearance                                  * Where defendant previously apprehended on complaint, no new summons or
                                                                                warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

        42 Beverly Street, San Francisco, CA 94132                              Date/Time:                                 Before Judge:

        Comments:
